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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS

JANE DOE (a pseudonym),                                 :
                                                        :
                  Plaintiff,                            :
                                                        :
v.                                                      :       C.A. No.:
                                                        :
JOHN ROE (a pseudonym),                                 :
MASSACHUSETTS INSTITUTE                                 :
OF TECHNOLOGY,                                          :
                                                        :
                  Defendants.                           :

                                       NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, defendants Massachusetts Institute of

Technology (“MIT”) and John Roe (“Roe”) remove this action from the Superior Court of the

Commonwealth of Massachusetts for Middlesex County to the United States District Court for

the District of Massachusetts. As grounds for removal, MIT and Roe state as follows.

                                 The Parties and the Nature of the Case

        1.        Plaintiff Jane Doe formerly was employed by MIT, a private university with its

principal place of business in Cambridge, Massachusetts. Roe is an MIT employee who worked

with Plaintiff.

        2.           Plaintiff filed her complaint on May 5, 2023 in the Superior Court of the

Commonwealth of Massachusetts, Middlesex County. It was assigned Civil Action No.

2381CV01298. A copy of the complaint is attached at Exhibit A.

        3.        Plaintiff’s complaint contains no specific factual allegations. Instead, for her

“Statement of Facts,” Plaintiff “incorporates by reference” two “Agency Complaints” she

previously filed against MIT and Roe: a Charge of Discrimination she filed with the
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Massachusetts Commission Against Discrimination (“MCAD”) on January 12, 2021, and a

Complaint she filed with the Department of Labor (“DOL”) on April 13, 2021. Compl., ¶ 6.

       4.      Plaintiff’s MCAD Charge alleged, among other things, that MIT and Roe engaged

in discriminatory and retaliatory practices against Plaintiff in violation of Massachusetts law.

       5.      Plaintiff’s DOL Complaint alleged, among other things, that MIT and Roe

engaged in retaliatory employment practices against Plaintiff in violation of the Sarbanes-Oxley

Act (“SOX”), 18 U.S.C. §1514A, and Section 1405 of the Taxpayer First Act (“TFA”), 26

U.S.C. §7623(d).

       6.      Plaintiff’s Superior Court complaint alleges that “[s]ubsequent to Plaintiff’s filing

of the Agency Complaints, Defendants Roe and MIT persisted in engaging in the wrongful acts

and conduct as alleged in the Agency Complaints.” Compl., ¶ 7.

       7.      Plaintiff’s Superior Court complaint then alleges in a conclusory fashion that MIT

and Roe have discriminated against her on the basis of gender and disability in violation of

Massachusetts law (Count One), violated Massachusetts wage and hour laws (Count Two), and

retaliated against Plaintiff for complaining about discrimination and other violations of state and

federal law (Count Three); that Roe breached fiduciary duties to Plaintiff and an unnamed

company of which Plaintiff and Roe allegedly are members, managers, and 50% shareholders

(Counts Four and Six) (the complaint contains no Count Five); that Roe fraudulently induced

Plaintiff to begin employment at MIT (Count Seven); and that MIT breached its employment

contract with Plaintiff (Count Eight).

                                Removal Jurisdiction and Venue

       8.      A civil action filed in state court may be removed to federal district court if at

least one of the claims asserted therein “aris[es] under the Constitution, laws, or treaties of the
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United States.” 28 U.S.C. § 1331; 28 U.S.C. § 1441(a). Plaintiff alleges violations of federal

law in her complaint in several respects. She incorporates by reference the DOL Complaint in its

entirety, which asserts violations of SOX and TFA. Compl., ¶ 6. Her complaint asserts that the

alleged violations of federal law “persisted” after she filed the DOL Complaint. Id. ¶ 7. Plaintiff

further alleges that MIT and Roe retaliated against her for complaining of violations of those

federal laws, a claim which will require the Court to resolve questions of federal law including

the public policies behind SOX and the TFA and whether her complaints regarding alleged

violations of those statutes constitute protected activity.

           9.           The Court has supplemental jurisdiction over Plaintiff’s state law claims

because they “are so related to claims in the action within such original jurisdiction that they

form part of the same case or controversy under Article III of the United States Constitution.”

28 U.S.C. § 1367(a), as Plaintiff’s claims all arise from the same alleged conduct that occurred

during her employment with MIT.

           10.          Venue is proper in this Court because this is the federal judicial district and

division in which the state court action was filed. 28 U.S.C. § 1441(a).

                                                  Procedural Issues

           11.          Pursuant to 28 U.S.C. § 1446(a), MIT and Roe have attached copies of all

process, pleadings, and orders served upon them in this case.

           12.          Defendant MIT first received a copy of the Complaint on August 3, 2023,

when a copy of the complaint was delivered to it. 1 Defendant Roe was served with a summons

and copy of the complaint on August 3, 2023.




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    As of the date of this filing, proper service has not been made on MIT.
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        13.        This Notice of Removal is timely because it is filed within 30 days of the

Defendants’ first receipt of the complaint. 28 U.S.C. § 1446(b).

        14.        The Defendants will promptly file a copy of this Notice of Removal with the

Clerk of the Superior Court for Middlesex County and will serve the notice on Plaintiff in

compliance with 28 U.S.C. § 1446(d).

        15.        Certified copies of the entries in the Superior Court docket will be filed in

connection with the Defendants’ Local Rule 81.1(a) submission.

        16.        All defendants consent to the removal of this action. 28 U.S.C.

§ 1446(b)(2)(A).



 August 23, 2023                                    MASSACHUSETTS INSTITUTE OF
                                                    TECHNOLOGY and JOHN ROE,

                                                    /s/ Daryl J. Lapp
                                                    Daryl J. Lapp, BBO# 554980
                                                       daryl.lapp@lockelord.com
                                                    Samantha M. Vasques (pro hac vice pending)
                                                       samantha.vasques@lockelord.com
                                                    LOCKE LORD, LLP
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                                                    Boston, Massachusetts 02199
                                                    617.239.0100

                                 CERTIFICATE OF SERVICE

        I certify that on August 23, 2023, this document, filed through the ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
and paper copies will be sent to those indicated as non-registered participants, as follows:

Jane Doe (a pseudonym) – by electronic and first-class mail

                                                       /s/ Daryl J. Lapp
                                                       Daryl J. Lapp




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